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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF MARYLAND


       CHAMBERS OF                                                                            6500 CHERRYWOOD LANE
ALEXANDER WILLIAMS, JR.                                                                         GREENBELT, MD 20770
UNITED STATES DISTRICT JUDGE                                                                        (301) 344-0637
                                                                                                  FAX (301) 344-0672




                                               October 18, 2011


        MEMO TO THE PARTIES:                   STEVIE BURTON
                                               v.
                                               UNITED STATES OF AMERICA
                                               (AW-11-314)
                                                AW-04-0559

        Dear Parties:

                 Before the Court is a request by defendant/Petitioner for an extension of the time to
        submit and file his reasons why the Court should reconsider its Memorandum Opinion issued
        in September 30, 2011. The Court GRANTS (Paper#619-1)Petitioner/Defendant’s request
        and enlarges the time from October 26, 2011 to and including November 7, 2011 to file his
        submission as requested. The Government has until November 28, 2011 to respond to
        Petitioner/Defendant’s submission, and the Defendant/Petitioner has until December 19, 2011
        to file any reply thereto.

                Despite the informal nature of this ruling, it shall constitute an Order of Court, and the
        Clerk is directed to docket it accordingly.


                                                       Sincerely,

                                                       __________/s/____________
                                                       Alexander Williams, Jr.
                                                       United States District Judge
